- Raymond C. Rae : 5
Spring Creek Correctional Center pas WW
3600 Bette Cato Road ECE!I\V ED
Seward, Alaska -99664-

    

 

 

JUN 13 2049
IN THE UNITED STATES DISTRICT COURBERK, U.S. DIST-21cT CouRT
FOR THE DISTRICT OF ALASKA ANCHORAGE, «Kk, ‘
Raymond C. Katchatag , Case No. BilA-Cv- OOVIL- DMS
(plaintiff)
Vv. PRISONER'S
COMPLAINT ™WNDER

Department of Corrections--Health and THE CIVIL RIGHTS ACT

 

Rehabilitation Services .(H.A.R.S.): 42 I.S.C. § 1983

{ Laura Brooks-Health Care Administrator, M.S., L.P.A.
z Amanda Loomis-P.A.-C.
3 Bryan Pherson-P.A.-C.
4 Gabe Gluesing-R.N.II
3 jillian Ryan-R.N.I

lo Lynne Lawrence-R.N.III
Defendent(s)

 

 

 

 

 

 

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3).

B. Parties ‘
1. Plaintiff:This complaint alleges that the civil rights of: Rovmpnd

 

C., ¥ tc hataG , who presently resides at: Spring Creek ;

Correctional Center, were violated by the actions of the:individual(s) named

 

below.

Ze Defendents:

‘Defendent No.1: Laura Brooks , is a citizen of: Alaska ,and is employed as
a:_L.P.A., M.S., Health Care Administrator and Deputy Director of H.A.R.S.

for the Department of Corrections.

 

This defendent personally participated in causing my injury, and I want
money damages.
OR

The policy or custom of this official's government agency violates my
rights, and I seek injunctive relief (to stop or require someone do something).
“Defendent No.2: Amanda Loomis , is a citizen of: Alaska , and is employed

as a: Physician Assistant-Certified.

 

—_—__lhis defendent personally participated in causing my injury, and I want
money damages.

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Case 3:19-cv-00172-DMS Document1 Filed 06/13/19 Page 1 of iPrsone ) .
~ OR
X% The policy or custom of this official's government agency violates my

* rights, and I seek injunctive relief (to stop or require someone do something).
-Defendent No.3: Bryan Pherson ,is a citizen of: Alaska , and is employed

as a: Physician Assistant-Certified.

This defendent personally participated in causing my injury, and I want

money damages.

OR

_ X_The policy or custom of this official's government agency violates my

rights, and I seek injunctive relief (to stop or require someone do something).
-Defendent No.4: Gabe Gluesing , is a citizen of: Alaska _, and is employed

as a: R.N.II (Nurse) .

 

This defendent personally participated in causing my injury, and I want
money damages.
OR
_X The policy or custom of this official's government agency violates my
rights, and I seek injunctive relief (to stop or require someone do something).
-Defendent No.5: Jillian Ryan_, is a citizen of: Alaska _, and is employed as
a: R.N.I (Nurse) .
This defendent personally participated in causing my injury, and I want
money damages.
OR
wX{The policy or custom of this official's government agency violates my rights,
and I seek injunctive relief (to stop or require someone do something).
*Defendent No.6: Lynne Lawrence , is a citizen of: Alaska , and is employed
as a: R.N.III (Nurse).
This defendent personally participated in causing my injury, and I want
money damages.
OR
—_X_The policy or custom of this official's government agency violates my
rights, and I seek injunctive relief (to stop or require someone do something).

KKK REMINDERYSYY
You must exhaust your administrative remedies before your claim can go forward.
THE COURT MAY DISMISS ANYWNEXHAUSTED CLAIMS.

C. Causes of Action (you may attach additional pages alleging other causes
of action and facts supporting them if necessary. Make copies of page 5 and

rename them pages 5A, 5B, etc. and rename the claims, "Claim 4," "Claim 5,etc.")

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*

CLAIM 1: On or about _ April 8th, 2019 my civil right to: Free lom F¥eom
Deliberate Indifference , was violated by; Laura Brooks (Ms. Brooks)
On Thursday February 14th, 2019, I met with the cardiologist at the American
Heart Institute (A.H.I.) as I was experiencing heart palpitations, shortness
of breath, and moments of dizziness which would lead to passing out. During
our discussion I had asked him to change my diet as he was the only person
capable of changing the diet. He said he would write it down and fax it
over to the jail along with the follow-up medical appointment he had scheduled
for me (a tilt-table test). As Ms. Brooks is the Deputy Director of the
Health and Rehabilitation Services and the person who oversees the Division
and Chair of the M.A.C.3 so ultimately it falls on her decision to decide
what's to be done as far as an inmate's treatment plan shall be handled.
Ms. Brooks, has chosen instead to have me do an Orthostatic Blood Pressure
(B.P.) Tests done in the place of the cardiologist's recommended tilt-table
test and has chosen to deny the diet he had ordered for me as well and in
its place submit me to D.O.C.'s version of a heart healthy diet.

This medical issue with my heart actually began in 2016 when the then
P.A. (J. Cassell) had chosen to renovel fron the anti-acid medication Prilosec
in his response to my Request for Medical (R.M.C.) he answered that people
were not supposed to use it (Prilosec) for more than 4 weeks as it has shown
to cause kidney damage. He had taken me off Prilosec sometime in March or
April, when I was given that response it was on 5-5-16, and I had filed
a medical grievance on it (SC16-197) on 5-23-16. The investigator's finding's
was that: "Your current records have been reviewed. Chronic use of omeprazole
(Prilosec) has been found to cause Significant medical issues including:
gastric cancer}! fracture of weight bearing bones, blood mineral abnormalities,
kidney problems, among others." The purpose of my grieving them was because
I was on Prilosec for 6 and a half years having been ovipiaalig@olaced on
it back in 2010 by the then P.A. here at S.C.C.C. (Norcross). When I was
awaiting sentencing at A.C.C.-East, they had takem: me off it, but they 2Q15
did not give me any reasons as to why and after insistently requesting that
I be placed back on it; even going so far as to have my then girlfriend
e-mail Ms. Brooks, they relented and placed me back on Prilosec.|
(2016) During the subsequent months of being taken off Prilosec I was having
painful withdrawls after having been on it for so long. I was having painful
heartburn where I was burping up acid, food too acidic would intensify the
heartburn, and to counteract these signs and symptoms (S/S) they were giving
me two Pepcid a day and issuing me 6 calcium carbonated tablets a day Tums)

I was (and still am) also experiencing pain in my ailmentry canal when I
olcasionally

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. would have bowel movements. Medical would issue me these stool sample cards
to test for blood in my stool. I was also experiencing pain in my back so
the P.A. had issued me Mobic since it wouldn't effect my heartburn. It wasn't
until September of that year that I was finally sent to Anchorage to see
a cardiologist and a gastroentrologist. I met with the first doctor (Dr.
Sweeney) who is a gastroentrologist and his clinic is located near Lake
Otis & Tudor off Laurel St. That meeting went something along these lines:
Dr. Sweeney:"If you want treatment from me you will have to take Prilosec
for 4 weeks. Except I would prefer you to be on it, for lets say..2 years."
My response: "No,do you not know why I am here?"

Dr. Sweeney: "Yeah you have been having painful heartburn and pain when
you have a bowel movement."

My response: "I'm here because I was just on Prilosec for 6 and *% years and
now D.O.C. Medical has taken me off to which I grieved it and wanted know
what were its negative side-effects and to be seen by a specialist."

Dr. Sweeney: "Who's to say that Prilosec caused you these problems? Medical
research has made vast amounts of improvements and the proof is astounding
Prilosec has shown to stop anyone who has G.FE.R.D. and I recommend it to all
my patients."

My Response: "No, I will not take it not even for another 4 weeks."

Dr. Sweeney: "Well if you want me to treat you that is my plan."

This is not the exact conversation but it is the gist of it. After that I

had left and was returned back to the prison A.C.C.-EFast. A few days later

I was brought to the American Heart Institute (A.H.I.) to meet with the °
cardiologist. First, I was brought to be seen for a sonogram or an unLtrasound
to do an inspection of my heart. Then I was brought up to speak with the
cardiologist, who then stated I will wear a "heart monitor" for 30 days to
evaluate what my symptoms were with my heart. The problem with that was when

I took it back to wear, none of the sticky pads would stick due to my excessive
dry skin, so they would fall off. I made a complaint to medical, but they said
"they wouldn't provide me with more pads or skin tape," and so I had refused
telling them: I want to wear it, but because you won't provide me with any kind
of skin tape there is no point in wearing it. At or around this time I was
gorrespondes with the D.0.C. Medical Department about the treatment plan with
the gastroentrologist. We agreed that I would not exceed the ess time limit
and that I will have my follow-up with him afterwards. Except, during my 5th
week I was transfered back to §.C.C.C.. When I arrived here I met with Nurse
Anderson who had shown me my medical chart and I then saw I was ordered to

take Prilosec for 90 days. At which point I told them I would not take the
Prilosae. That was; I believe, on 11/21/16. I grieved them on 3/7/17 about my

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‘ follow-up with the gastroentrologist and they said it has been cancelled.
That I was being given essential medical care. I had also requested that they

-* change my diet and I explained to them what works for me and they refused

this also giving me the same answer. I forgot to mention that in January of
2017 they had approved I go back to A.C.C.-Rast for the follow-up with the
cardilogist and wear the “heart monitor," this time I would be given
hypoallergenic skin pads and non-adhesive skin tape. After 30 days I was sent
back to S.C.C.C. the final determination was that my heart was fine from the
cardiologist. I was at this time not having such severe S/S and beginning

to feel better. For the rest of that year I really didn't have anymore problems
with my stomach occasionally I would have some shortness of breath, but overall
I was good. When in mid 2018 I would experience shortness ,of breath the then
P.A. (G. Smith) met with me and said that I would take&twice daily. Once in

the morning and once in the evening. Another issue I was experiencing with

them was the distribution of my meds, which I was requesting that they spaced
apart as each pill may conflict with one MORNING and enenttg She said (G.
Smith) that you will be given your meds at these times® To which I grieved
this@and was denied. Again I was told I was being given adequate medical care.
It wasn't until January of 2019 when I began to have severe heart palpitations
and would experience shortness of breath and have dizziness spells that would
lead to me passing out, that I was sent back to A.H.I. to speak with the

cardiologist. And so here I am back at the beginning of this claim.

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. _ . 33-! .
Case 3:19-cv-00172-DMS Document1 Filed 06/13/19 Page 5 PEBSONES " Sh
, CLAIM 2: On or about February 2nd, 2019, my civil right to_Fresdom fromPeliberate
std. ference

 

was violated by: Amanda Loomis(P.A. Loomis):

P.A. Loomis, denied what the Outside Medical Doctor at the A.H.I. ordered;

he (the cardiologist) had written for me a diet after I had explained to him
that he is the only person who is capable of changing my diet. I had explained
that the prison food is not something that most typical people eat and that
due to my intense excercising the standard diet doesn't have enough protein
content. I then stated could you write for me: The High Protein Diet, with

no dairy. He also added as an option that it be low in sodium. When I met with
P.A. Loomis, she said that Medical D.O.C. doesVorder people high protein diets,
instead she said that they will supplment it with D.0O.C.'s version of a heart
healthy diet. When we met she stated that it will be the Cardiac Diet, which
is low sodium and low fat. During the evening I was given a memo from the
medical department stating that I will be placed on the Cardiac Diet for 90
days. That memo was dated February 19th, 2019. At that time I was unaware of
what Ms. Brooks' denial of my follow-up with the cardiologist.

 

CLAIM 3: On or about: MWa~F ~Folreuoey -Apefl® » my civil right to,
| id Cergnegwas: violated by: Bryan Pherson P.A.-C.(P-A.

 

 

 

Pherson):
Upon being brought back to S.C.C.C. I had spoken with P.A. Pherson about what
I was supposed to be doing as to the follow-up appointments with the A.H.I.

cardiologist. I had also explained that the cardiologist had issued me: The
High Protein Diet, with No Dairy. His response was that D.0O.C. Medical does
not issue that type of diet. I then explained what the CLeary Act states and
he said he didn't care. He then explained that I would be given Orthostatic
B.P. tests instead of the follow-up with the cardiologist. I then filed a
grievance on March 4th, about this entire situation. D.0.C. Medical had tried
to issue me what they said was a heart healthy diet; the Cardiac Diet;

except here P.A. Pherson said that it was higher in protein, but it wasn't

as it was equal to or less than the amount of protein that was given on San
trays. When I had seen this I had requested that they cancel the Cardiac diet
as I wasn't going to starve myself. They still attempted to push the no dairy
allergy within the grievance. P.A. Pherson was the investigator to that
grievance (SC19-071). At our last meeting in April I had attempted to meet
with him half way stating'"Instead of the Protein Diet what about issuing me

a bag meal with each tray?" He stated that isn't going to happen.

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CLAIM 4: On or about: April 12th, 13th, 14th, and the 16th, 2019, my civil
right to Freedom from Deliberate Indifference, was violated by: Gabe Gluesing
R.N. I1L:(Nurse Gluesing):

At my first Orthostatic B.P. testing with Nurse Gluesing, he had stated to
the Rovers that technically he is supposed to wait 5 minutes between each

 

 

of the positions before he is supposed to test me for my blood pressure.

That was on April 12th, 2019, not only was he not doing each testing as he
stated but he wasn't doing them efficiently. as he told me that each one will
be done on the opposite arm as I change positions. So it would go from the
first standing up(be done on either arm),the second I wouild be sitting down
and I would be tested immediately upon sitting down,thensthe:oppositeiarm.:would
be’ tested, but it didn't go like that as he had one B.P. test machine there
was a lapse between each of the tests of 45 seconds to a minute. During these
lapses I would be able to tell the significant difference with how my body
would respond,with my heart rate and the heart palpitations would occur when
my body would change positions. I had explained this to Nurse Gluesing and

he said he"was trying but it's hard to do with only one machine." The end
result was altogther the orthostatic B.P. tests would occur in less than 5
minutes for each day that I was brought up for them with him.

 

CLAIM 5(a): On or about: During the month of April of 2019, my civiliréght
to: Freedom from Deliberate Indifference, was violated by: Jillian Gayle Ryan

(Nurse Ryan):
I had submitted an R.M.C. complaining of how my foot was hurting and I didn't

 

 

 

kawhow.. or why. I had requested Tylenol for the pain. Nurse Ryan had responded
back by saying that I wouldn't be given Tylenol and that I can purchase it

off of commissary. I had then explained that the long-term side-effects from
chronic use of Prilosec was fracturing of weight bearing bones. I had also
explained that I qualify as an indigent prisoner, that due to my not having
any funds to purchase commissary medical was my source for Tylenol. The
medical department didn't respond back nor was I able to get any aid for my
foot. So, I grieved the issue (SC19-125) on 5/19/19.

CLAIM 5(b): On or about: the beginning of April , my civil right to: Freedom

 

from Staff Retaliation , was violated by: Nurse Ryan:
After I had made it clear that I would be filing a 1983 CIvil Suit against
S.C.C.C. Medical, Nurse Ryan had chosen not to bring me my medication in the

 

morning. While this may seem a bit of a stretch, I had explained to the P.A.'s

in the past that by switching up my meds it has an effect on my stomach and
my body. I had also made it clear to our current P.A. (Pherson) that this

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CLAIM 5(b) continued:

happens. As I am in the segregated housing unit [House 1 (Hs.1)] I am not

allowed to be given my medication to be: "Kept On Person," (K.0.P.)

for security purposes; as this is the current situation. In a previous

grievanze I had attempted to get my medication distributed at various times

of the day in part because of each function of the specified pill would

have an adverse effect on the function of the next pill. The response back
was that it was the decision of the P.A. that the time I was given my medication
is up to there discretion; as it turned out the P.A.'s from previous times had
stated that I would be given my medication in the morning and in the evening.
Which is all on paper, but I do not have access to those as they are in my file.
Nurse Ryan's, claiming that she will not issue medication in the morning as it
interferes with daily activities (e.g. recreation, showers, law library).
Although, she has since made it clear with her action she doesn't care about
other inmates who are experiencing there daily activities except mine and
this was after I made it clear that would be filing a 1983 Civil Suit against
medical.

 

CLAIM 6: On or about: the beginning of April , my civil right to: Freedom

 

from Callous Indifference, was violated by: Lynne Lawrence (Nurse Lawrence);

 

 

Nurse Lawrence, had chosen to back up Nurse Ryan's excuse to retaliate against
me by claiming that the medication distribution interferes with daily activites

and that I would be now given my meds as a K.O.P..

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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action, or otherwise relating to your imprisonment? Yes _\<_No

2. If your answer is “Yes,” describe each lawsuit.
a. Lawsuit 1:

Plaintiff(s):

 

Defendant(s):

 

Name and location of court:

 

 

Docket number: Name of judge:
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

 

b. Lawsuit 2:

Plaintiff(s):

 

Defendant(s):

 

Name and location of court:

 

 

Docket number: Name of judge:
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

 

3. Have you filed an action in federal court that was dismissed because it was
determined to be frivolous, malicious, or failed to state a claim upon which relief could
be granted?

Yes “A No

If your answer is “Yes,” describe each lawsuit on the next page.

 

Prisoner § 1983 -

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Lawsuit #1 dismissed as frivolous, malicious, or failed to state a claim:

a. Defendant(s):

 

b. Name of federal court Case number:

 

c. The case was dismissed as: frivolous, malicious and/or failed to state a claim

d. Issue(s) raised:

 

e. Approximate date case was filed: Date of final decision:
Lawsuit #2 dismissed as frivolous, malicious, or failed to state a claim:

a. Defendant(s):

 

b. Name of federal court Case number:

 

c. The case was dismissed as: frivolous, malicious and/or failed to state a claim

d. Issue(s) raised:

 

e. Approximate date case was filed: Date of final decision:
Lawsuit #3 dismissed as frivolous, malicious, or failed to state a claim:

a. Defendant(s):

 

b. Name of federal court Case number:

 

c. The case was dismissed as: frivolous, malicious and/or failed to state a claim

d. Issue(s) raised:

 

e. Approximate date case was filed: Date of final decision:
4. Are you in imminent danger of serious physical injury? _« Yes _+& No

lf your answer is “Yes,” please —o how you are in danger, without legal
argument/authority: Tevgories vie a odiewos o wee Wack gal pbelvous,

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